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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:11CR296
                      Plaintiff,                  )
                                                  )
       vs.                                        )              ORDER
                                                  )
ANDRES LOPEZ,                                     )
                                                  )
                      Defendant.                  )


       This matter is before the Court on the motion of defendant Andres Lopez (Lopez)
for an extension of the pretrial motion deadline (Filing No. 46). The motion does not
comply with NECrimR 12.1 (a) and paragraph 9 of the Progression Order (Filing No. 38)
in that the motion is not accompanied by the defendant’s affidavit or declaration stating that
defendant:
       (1)    Has been advised by counsel of the reasons for seeking a continuance;
       (2)    Understands that the time sought by the extension may be excluded from any
              calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.; and
       (3)    With this understanding and knowledge, agrees to the filing of the motion.

       Accordingly, the motion (Filing No. 46) is :
              ( X ) Held in abeyance pending compliance with NECrimR 12.1(a) and
                      Paragraph 9 of the Progression Order. Absent compliance on or
                      before April 3, 2012, the motion will be deemed withdrawn and
                      termed on the docket.
              (   )   Denied.
       IT IS SO ORDERED.


       DATED this 27th day of March, 2012.

                                                  BY THE COURT:


                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
